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                       UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF IDAHO


UNITED STATES OF AMERICA,                      Case No. 1:22-cv-00329-BLW

      Plaintiff,                               THE IDAHO LEGISLATURE’S
                                               REPLY TO THE UNITED STATES’
v.                                             RESPONSE TO ITS MOTION TO
                                               INTERVENE [DKT. 15]
THE STATE OF IDAHO,

      Defendant.



      The Speaker of the Idaho House of Representatives Scott Bedke, Idaho Senate

President Pro Tempore Chuck Winder, and the Sixty-Sixth Idaho Legislature (collectively

the “Legislature”) respectfully submit this reply brief in support of their Motion to

Intervene (Dkt. 15) and in response to the United State’s Response to the Idaho

Legislature’s Motion to Intervene [Dkt. 23].

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                              RESPONSIVE DISCUSSION

                  Relevant Facts: The Legislature’s Unique Defense

       On Monday evening, August 8, 2022 (all dates hereinafter are 2022), the Legislature

filed its Motion to Intervene (Dkt. 15)—just four business days after the Plaintiff

(“Government”) filed its Complaint (Dkt. 1) (and before the filing of any other document

going to the merits of this case). The Motion to Intervene was filed just one business day

after this Court ordered an expedited briefing and hearing schedule (Dkt 13). It was that

expedited schedule—which the Legislature has committed to comply with—that caused

the Legislature to act immediately with its Motion to Intervene.

       At the time of that Motion’s filing, the Legislature knew—based on its long history

of legislating about abortion—that the Complaint’s claim and especially its demand for

injunctive relief was based on a false “factual” foundation. The falsehood is that “Relevant

Abortions” were occurring in Idaho’s Medicare-funded emergency rooms. Relevant

Abortions are those emergency-room abortions that fall (i) inside the prohibition of

abortion found in Idaho Code § 18-622 (“the 622 Statute”) and (ii) outside the overlap

between the 622 Statute’s medical-emergency exception and EMTALA’s medical-

emergency mandate but still inside EMTALA’s mandate.

       Here is what that definition (first part) means in application. Ectopic “pregnancies”

fall outside the 622 Statute’s prohibition. That is the Legislature’s clear understanding and

intent, one shared by the executive branch. The Government probably believed as much

when filing its Complaint (Dkt. 1). It says in relevant part: “Termination of an ectopic


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pregnancy—which can never lead to a live birth and poses inherent danger to pregnant

patients—is not considered an abortion by medical experts.” See Complaint, p.7, n.1 (Dkt.

1). But, for reasons that will become clear in a moment, the Government chose to play the

“reader-in-bad-faith” card with the 622 Statute: “However, the termination of an ectopic

pregnancy appears to fall within Idaho’s broad definition of abortion.” Id. The Government

then proceeded in its Complaint and its Motion for Preliminary Injunction and related

papers on the basis that ectopic “pregnancies” fall inside the 622 Statute’s prohibition.

They do not. And, after all, it is Idaho’s right, not the Government’s, to define the scope of

this State’s laws.

       Continuing with the second part of the definition: In their operation, there is an

overlap as a matter of fact between the 622 Statute’s medical-emergency exception and

EMTALA’s medical-emergency mandate. That overlap encompasses those medical

emergencies where no informed and honest person, whether doctor or lawyer, can or will

say that the abortion is not necessary to save the woman’s life.

       But theoretically, there are also medical cases that fall outside that overlap but still

inside EMTALA’s mandate. Those are the Relevant Abortions, and those are the only

abortions, well, relevant to the Government’s claim. That is because only when a Relevant

Abortion case arises in the real world is there a real conflict between Congress’s Spending

Clause power and Idaho’s regulatory power. No Relevant Abortions, no conflict. No

conflict, no Article III case or controversy, only an invitation for an unconstitutional

advisory opinion. And certainly, if no Relevant Abortions, no factual or legal basis for

asking this Court to exercise its extraordinary equitable powers and tell a sovereign State

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that it cannot enforce its own laws in full. After all, if there are no Relevant Abortions, the

Government would be left saying: “We can’t show that Relevant Abortions have been

happening in Idaho, and therefore we have no basis for showing that they will in the future,

but theoretically it could happen, so, your honor, enter an injunction telling Idaho it cannot

exercise in full its police power, its regulatory power reserved to it and its people by the

Tenth Amendment and very recently fully sustained by Dobbs.” No good law exists that

would sustain that kind of plea.

       So in this case, the presence or absence of Relevant Abortions in Idaho is a material

issue of fact (among a few more we discuss below). That leads to consideration of the

Government’s Motion for Preliminary Injunction (Dkt. 17) and “supporting” exhibits (Dkt.

17-1 through 17-13) (collectively “P.I. Motion”), filed just a couple of hours after the

Legislature’s Motion to Intervene.

       Our careful review of the P.I. Motion leads to this firm conclusion: the Government

has presented no admissible, credible evidence of Relevant Abortions. The Government

creates a big smoke screen, as if it were really presenting such evidence, but it has not done

so. A big part of the smoke screen is the presentation of data covering ectopic

“pregnancies,” which the Government treats as Relevant Abortions. That data is not at all

relevant, but the Government has found it useful in generating a big smoke screen. We say

“not at all relevant” because the 622 Statute does not prohibit or otherwise cover the

termination of ectopic “pregnancies.” And that in turn is because, as the Government itself

made clear in its Complaint (Dkt. 1, p. 7 n. 1), an ectopic “pregnancy” can never end in a

live birth and always creates a real risk, absent treatment, of the mother’s death.

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       Nor do any of the doctor declarants present any admissible, credible evidence of

Real Abortions happening in Idaho. Their declarations are written as if they are presenting

just such evidence, but those declarations do not withstand close scrutiny and do not present

the requisite admissible, credible evidence. (That defect, the Legislature is confident, will

be fully illuminated during cross-examination of those doctors and further illuminated

during the testimony on direct of the doctors and other witnesses the Legislature will call.)

       Because this issue of fact—the presence or absence of Relevant Abortions in

Idaho—is material, and, if the Legislature is a party, will be robustly contested, it can

properly be resolved only through an evidentiary hearing. This Court cannot make findings

of fact on the basis of conflicting competent affidavits. It will have to hear live testimony.

Until it does, it cannot be said that the Government has met its heavy burden of showing

entitlement to the extraordinary equitable remedy of an injunction directed against a

sovereign State’s exercise of its legitimate regulatory power.

       In light of this reality, the Legislature’s legal team has done two things. One, at the

conclusion of its close scrutiny of the P.I. Motion, it immediately began making plans,

based on anticipated party status, for the requisite evidentiary hearing, plans detailed in the

following paragraphs. Two, it reached out to the Attorney General’s Office to learn to what

extent, if at all, that Office intends and is prepared to present evidence countering the

Government’s position on the material issues of fact. What we learned is that that Office

has no clear present intent or plan to do anything of the sort.

       Hence the need for party status for the Legislature. After all, only a party can present

to this Court affidavits, declarations, live witnesses, and other forms of evidence. Only a

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party has subpoena power. Only a party can cross-examine. Only a party willing to do all

these things can show this Court the holes in the “factual” foundation of the P.I. Motion.

What follows is the Legislature’s plan to do that necessary work. In presenting that plan,

we cannot guarantee that, because of the short time allowed, all parts of the plan will come

to fruition, although we believe they will. What we can and do guarantee is that we will

continue our intense efforts hour by hour in the preparation of the factual defense that is

definitely there to be made on behalf of the 622 Statute and against the P.I. Motion.

       The Legislature’s present litigation plan encompasses the following:

       The Legislature will subpoena the Idaho doctors the Government used as declarants.

Our cross-examination of them will disclose the holes in their declarations, specifically,

the absence of admissible evidence of Relevant Abortions and, also, the absence of a sound

basis for the purported “fears” induced by the alleged “chilling” effect of the 622 Statute.

(We are presently in doubt as to our subpoena power over the Government’s Pennsylvania

doctor.)

       The Legislature will call one or more doctors who will give testimony countering

and therefore discrediting the testimony of the Government’s Idaho doctors, primarily on

the two specifics just identified.

       The Legislature will subpoena Ada County Prosecuting Attorney Jan M. Bennetts

to testify regarding prosecutorial discretion and its exercise in instances of emergency-

room abortions. (This sentence will be news to her.) She may be neutral, friendly, or hostile

to the Legislature’s cause; we do not know yet, but we know she will be an honest witness.

Being that, her testimony will go a long way to discredit the Government’s false picture of

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the 622 Statute being applied indiscriminately to all emergency-room abortions. And,

thereby, her testimony will also discredit the Government’s false picture of Idaho’s

emergency-room doctors having to live in fear when confronting “close” cases.

       The Legislature will subpoena a past or present State of Idaho official with

knowledge of the State’s abortion-reporting practices and records as required by law. 1 The

Legislature will also subpoena a person knowledgeable in the coding of medical procedures

for hospital records purposes in general and Medicare compliance purposes in particular.

The testimony of those two witnesses, we presently believe, will counter what the

Government must show but has not, the presence of Relevant Abortions in Idaho.

       This is the kind of defense of the 622 Statute that the people of Idaho both expect

and deserve, and the Legislature’s unique ability and willingness to provide that defense in

this case underscores the wisdom in enacting the Intervention Statute, Idaho Code § 67-

465.

                            Rule 24(a) Mandatory Intervention

       In any event, what the Legislature has set out above puts the lie to the Government’s

argument that the Attorney General’s Office will “adequately defend” the State’s interests




1
 See Idaho Code § 18-506 (mandating the reporting of abortions and the basis of the determination
of the existence of a medical emergency in certain cases); § 39-261 (charging the vital statistics
unit of the DHW to compile, store, and publicly publish reported abortion information); § 18-
609G(1)(b) (requiring reporting of abortions performed on minors including whether there was a
medical emergency); 18-609(7) (requiring reporting of abortions performed without certification
and delivery of educational materials and the medical emergency that necessitated it).



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and that therefore the Legislature has not satisfied Rule 24(a). See United States’ Response

to the Idaho Legislature’s Motion to Intervene (Dkt. 23) (“Opposition”) at 5–7.

       Equally false is the Government’s assertion that the Legislature “has not identified

a sufficient interest in defending” the 622 Statute. See Opposition (Dkt. 23) at 3–5. The

Legislature’s interest begins with seeing that the 622 Statute is defended to the fullest

extent that, under the law and the facts, a zealous party can defend it. The Legislature’s

interest is augmented in seeing that a federal district court, this Court, does not enter an

injunction against the full exercise of the Legislature’s hard-won, legitimate regulatory

power in this realm of great moral, medical, and political importance—when that

injunction is entered on a false “factual” basis that prevails only because not zealously

challenged. Those truths lead to an understanding of the Legislature’s unique interest, the

interest that is really at stake here—its unique power and authority and duty to answer the

hard questions posed by abortion, including this one: What is the moral value of a preborn

child? And this one: In what situations are the mother’s interests more weighty than the

moral value and interests of the preborn child? That power and authority and duty do not

reside with the executive branch but rather with and only with the Legislature. That power

and authority and duty are indeed what is really at stake here and constitute the

Legislature’s “sufficient interest” that fully justifies its Rule 24(a) intervention.

       With respect to Berger and intervention as of right, the Government seeks to evade

Berger’s mandate, squarely based on principles of our federalism, by throwing out

distinctions that do not make a difference; in large measure, the Government bases its

Opposition on the fact that the North Carolina statute respected in Berger has some words

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different from the Intervention Statute. In doing so, the Government ignores, and tries to

get this Court to ignore, that the evident intent, purposes, and policies of both statutes are

all the same. The quintessential objective of both statutes is to assure that no state statute

is subjected to constitutional challenge without a full, zealous, thorough-going defense.

The key insight underlying both statutes is that, although executive-branch officials and

other state actors may at times want to present either a luke-warm or no defense for a statute

(and not infrequently do just that), the creators of that statute, the ones who labored to bring

it forth, will invariably be strongly motivated to give their creation the best possible

defense. And it is fair to say that that insight has its greatest validity in the context of

regulating abortion, exactly because of the hard, hard nature of the Legislature’s duty in

that context. Berger says to the lower federal courts to honor that objective and give full

scope to that insight.

                            Rule 24(b) Permissive Intervention

       In light of all the foregoing and for one more reason, the Government’s Opposition

to Rule 24(b) permissive intervention fails. Opposition at 7–8. It says that the Attorney

General’s Office’s defense of the 622 Statute will be adequate considering all the

circumstances of this case. That statement is no longer plausible. The Opposition says that

the Legislature does not have a defense to offer different from what the Attorney General’s

Office will provide. Again, that statement is no longer plausible.

       And then the Opposition says nothing about something important. The Legislature

has set forth an on-point case fully supporting permissive intervention by the Legislature.

That case is Priorities USA v. Benson, 448 F. Supp. 3d 755 (E.D. Mich. 2020), which

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granted permissive intervention to Michigan’s legislature to defend its statute that was

under constitutional attack. The Opposition says nothing about that case. Yet that case

addresses and refutes every argument the Opposition makes against permissive

intervention and does so on remarkably similar facts.

                        Cries of “Delay” and “Undue Prejudice”

       That leaves only the assertions of “delay” and “undue prejudice to the United

States.” We grant that the Legislature’s intervention will interfere with the Government’s

plans to steamroll the P.I. Motion through to a quick and easily won Order of its fashioning.

We grant that the Legislature’s intervention will make more work for the Government’s

lawyers. But that is not “prejudice to the United States,” let alone “undue prejudice.” The

interest of the United States is in seeing justice done, in seeing cases decided on real facts

and not smoke screens, in seeing due and proper scope given not only to Congress’s

Spending Clause powers but also to Idaho’s (and its people’s) Tenth Amendment right, so

recently reaffirmed by Dobbs, to regulate abortion, and, here, in seeing that an

administration openly and admittedly hostile to Idaho’s right and to Dobbs is required to

meet, if it can, a zealous, robust defense of the exercise of that right.

       The Legislature is mindful of the August 25 “trigger” date and how this Court may

be wondering about the compatibility of the Legislature’s zealous, robust defense with this

Court’s understandable desire to rule on the P.I. Motion, one way or the other, before that

date. To that wondering, the Legislature makes three points.

       First, because historically in Idaho there have not been Relevant Abortions, there is

no genuine urgency to rule on the P.I. Motion. We believe that the absence of Relevant

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Abortions means that motion is fatally defective and cannot be granted. But at the very

least, that absence counsels against getting stampeded into a premature ruling, one not

based on a true and valid factual basis.

       Two, there has been only one delay in this whole matter. That is the Government’s

delay from June 24 to August 2, with June 24 being the day Dobbs was announced and

the “trigger” date became known with considerable certainty, and with August 2 being the

date the Government filed its Complaint here. That is a lot of delay, especially considering

how everything the parties and most certainly the Legislature have done since August 2

has been measured in single days, even hours. And because of the abominable leak of the

majority opinion in Dobbs, a prudent Government, knowing about the “trigger” date here

in Idaho, would have begun preparing its Complaint and P.I. Motion even before June 24.

The Government is the only party to blame if the absolutely required evidentiary hearing

cannot be completed before August 25.

       Having said that, and this is point three, the Legislature is working at breakneck

speed to prepare the Legislature’s defense for presentation to this Court in an evidentiary

hearing beginning Monday morning, August 22, and fully intends to be ready. The

Legislature cannot see why the Government cannot do the same. Such a hearing can be

completed before the “trigger” date. And it appears that this Court agrees; we understand

from communications with the Attorney General’s Office that this Court has set aside all

of August 22 for just such an endeavor.




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                                         CONCLUSION

       The way things are shaping up, if the Legislature is not in this case as a party, the

fairness, justness, and rightness of any resolution favorable to the Government will be a

very difficult sell. It will be a difficult sell to the people of Idaho. It will be a difficult sell

to the multitude of people across the Nation who have their eyes on this case. It will be a

difficult sell to law students over the coming years, even those who are pro-Roe and anti-

Dobbs. The fairness and justness and rightness of such a resolution will be a hard sell

because of the account set forth in this Reply of the defense that should have been heard

but was not because the Legislature was not afforded party status.

       Fortunately, the law and the facts unequivocally call for a ruling granting the

Legislature’s Motion to Intervene.

Dated this 11th day of August, 2022.

                                              MORRIS BOWER & HAWS PLLC


                                              By:   /s/ Daniel W. Bower
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                                CERTIFICATE OF SERVICE

        I hereby certify that on this 11th day of August, 2022, I electronically filed the foregoing
with the Clerk of the Court via the CM/ECF system, which caused the following parties or counsel
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